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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA

    Plaintiff,

    v.                                                   Criminal Action No. 17-232-EGS

    MICHAEL T. FLYNN,

    Defendant.




              NOTICE OF GOVERNMENT’S CONSENT TO DEFENDANT’S
               SECOND MOTION TO CONTINUE BRIEFING DEADLINES
         Counsel for Mr. Flynn contacted the government by email on January 23, 2020 p.m.

regarding the relief requested in his motion prior to filing (ECF No. 157). The government

acknowledged receipt of that request but had not responded at the time of filing.

         On January 24, 2020, Ms. Ballantine advised counsel via email that the government

would not oppose Mr. Flynn’s request for a continuance provided that the subsequent briefing

due dates were also continued, as was requested in Mr. Flynn’s motion:

         1. Defendant’s Supplemental Motion to Withdraw: January 29, 2020 (instead of January
            24, 2020)

         2. Government’s Opposition to Defendant’s Supplemental Motion to Withdraw:
            February 12, 2020 (instead of February 7, 2020)

         3. Defendant’s Reply: February 18, 2020 (instead of February 14, 2020)




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                               CERTIFICATE OF SERVICE

       I hereby certify that on January 24, 2020, a true and genuine copy of Mr. Flynn’s

Amended Certificate of Conference to Defendant’s Second Motion to Continue Briefing

Deadlines was served via electronic mail by the Court’s CM/ECF system to all counsel of record,

including:

       Jessie K. Liu, U.S. Attorney for the District of Columbia
       Brandon L. Van Grack, Special Assistant U.S. Attorney
       Jocelyn Ballantine, Assistant U.S. Attorney
       555 4th Street, NW
       Washington, D.C. 20530


                                                    Respectfully submitted,


                                                    /s/ Jesse R. Binnall
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